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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

ROBERT AND PAMELA GABRIEL,                   )
 Plaintiffs                                  )         CIVIL ACTION
                                             )
                                             )
VS.                                          )
                                             )
NATIONSTAR MORTGAGE, LLC,                    )
 Defendant                                   )         FEBRUARY 3, 2020


                         COMPLAINT – JURY TRIAL DEMANDED

       Plaintiffs, Robert and Pamela Gabriel (hereinafter, “Plaintiffs”), through their

attorneys, The Woods Law Firm, LLC, as and for their Complaint against the Defendant,

Nationstar Mortgage, LLC (hereinafter “Defendant”), respectfully set forth, complain and

allege, upon information and belief, the following:

                                          PARTIES

       1.     Plaintiff, Robert P. Gabriel, is a natural person and a resident of the State of

Connecticut as of the date of the filing of this Complaint, with his primary residence at 21

Richmond Hill Road, Greenwich, Connecticut 06831.

       2.     Plaintiff, Pamela P. Gabriel, is a natural person and a resident of the State of

Connecticut as of the date of the filing of this Complaint, with her primary residence at 21

Richmond Hill Road, Greenwich, Connecticut 06831.




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       3.     Defendant, Nationstar Mortgage, LLC, upon information and belief, is a

corporation organized pursuant to the laws of the state of Delaware, is registered as a

foreign limited liability company with the Connecticut Secretary of State and has its

principal place of business in Lewisville, Texas.

                                   JURISDICTION AND VENUE

       4.     The Court has jurisdiction over this matter pursuant to 28 USC §1332, as well

as 28 USC §1332 (a)(1). This Court has pendent jurisdiction over the state law claims in

this action pursuant to 28 U.S.C. §1367(a).

       5.     The Plaintiffs have suffered an ascertainable economic loss in excess of

$75,000.00 as a direct result of the Defendant’s actions and the amount in controversy in

this action exceeds $75,000.00. There is complete diversity of citizenship between the

Plaintiffs and the Defendant.

                                   FACTUAL ALLEGATIONS

       6.     The Plaintiffs repeat, reiterate and incorporate the allegations contained in

paragraphs numbered “1” through “5” herein with the same force and effect as if the same

were set forth at length herein.

       7.     On or about July 31, 2006, Plaintiffs signed a promissory note in favor of now-

defunct Lehman Brothers Bank. The note concerned a property located at 21 Richmond




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Hill Road in Greenwich, Connecticut.

        8.    The original servicer was Aurora Loan Services, LLC.

        9.    On or about April 16, 2010, a foreclosure action was commenced against

Plaintiffs to foreclose upon their Richmond Hill Road property, wherein the Defendant

became a substituted party Plaintiff in the state court action on or about September 11,

2012.

        10.   The recently discovered facts surrounding this case, indeed, are troublesome.

        11.   They have revealed that, upon information and belief, monies paid by the

Plaintiffs to the Defendant’s predecessor-in-interest prior to the commencement of the

Connecticut Superior Court foreclosure action were never credited to the Plaintiffs’

mortgage account, rendering the condition precedent to the foreclosure action – the default

notice dated February 9, 2010 – materially false.

        12.   As a result of the Defendant’s wrongful actions, Plaintiffs suffered and

continue to suffer economic damages relating to the Defendant’s conduct.

                                   FIRST CAUSE OF ACTION
                                           (Fraud)

        13.   Plaintiffs repeat, reiterate and incorporate the allegations contained in

paragraphs numbered “1” through “12” herein with the same force and effect as if the same

were set forth at length herein.




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       14.     The Defendant, upon information and belief, failed to credit payments made

by the Plaintiffs and failed to return same to Plaintiffs.

       15.     Thereafter and going forward, the Defendant predicated court filings and

communications with the Plaintiff concerning purported arrearages of principal and interest

amounts upon knowingly inaccurate figures.

       16.     The Defendant represented the knowingly inaccurate figures as being true

and correct when, in fact, upon information and belief, they were not.

       17.     Additionally, the failure to properly credit the payments made by the Plaintiff

served to artificially inflate the amounts of principal and interest which were allegedly due

on the note.

       18.     Plaintiff relied on Defendant’s false representations to its injury and suffered

economic damages.

                                  SECOND CAUSE OF ACTION
                           (The Connecticut Unfair Trade Practices Act)

       19.     Plaintiffs repeat, reiterate and incorporate the allegations contained in

paragraphs numbered “1” through “12” herein with the same force and effect as if the same

were set forth at length herein.

       20.     Defendant’s actions relative to: (a) failing to credit payments; (b) failing to

return payments that it did not credit; and (c) demanding Plaintiffs pay knowingly inaccurate




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amounts constitutes an unfair trade practice, which offends public policy, is immoral,

unethical, and unscrupulous in the context of trade or commerce in the State of

Connecticut, and which has caused substantial economic injury to the Plaintiffs.

        21.   Defendant’s actions constitute a per se violation of the Connecticut Unfair

Trade Practices Act.

        22.   On or about July 31, 2006, Plaintiffs signed a promissory note in favor of now-

defunct Lehman Brothers Bank. The note concerned a property located at 21 Richmond

Hill Road in Greenwich, Connecticut.

        23.   The original servicer was Aurora Loan Services, LLC.

        24.   On or about April 16, 2010, a foreclosure action was commenced against

Plaintiffs to foreclose upon their Richmond Hill Road property, wherein the Defendant

became a substituted party Plaintiff in the state court action on or about September 11,

2012.

        25.   The recently discovered facts surrounding this case, indeed, are troublesome.

        26.   They have revealed that, upon information and belief, monies paid by the

Plaintiffs to the Defendant’s predecessor-in-interest prior to the commencement of the

Connecticut Superior Court foreclosure action were never credited to the Plaintiffs’

mortgage account, rendering the condition precedent to the foreclosure action – the default




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notice dated February 9, 2010 – materially false.

        27.    The Defendant represented the knowingly inaccurate figures as being true

and correct when, in fact, upon information and belief, they were not.

        28.    Additionally, the failure to properly credit the payments made by the Plaintiff

served to artificially inflate the amounts of principal and interest which were allegedly due

on the note.

        29.    As a result of the Defendant’s wrongful actions, Plaintiffs suffered and

continue to suffer economic damages relating to the Defendant’s conduct.

        30.    Simply, the Defendant, engaged in a trade practice which ran counter to

public policy and for which the Plaintiff suffered an ascertainable loss of money. By virtue

of the aforesaid, the Defendant has violated the Connecticut Unfair Trade Practices Act and

is liable to the Plaintiff for nominal and punitive damages, treble damages, and attorney’s

fees.

                                   THIRD CAUSE OF ACTION
                                      (Unjust Enrichment)

        31.    Plaintiffs repeat, reiterate and incorporate the allegations contained in

paragraphs numbered “1” through “12” herein with the same force and effect as if the same

were set forth at length herein.




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        32.     The Defendant received payments made by the Plaintiffs which, upon

information and belief, it did not credit to the Plaintiffs’ account and did not return to the

Plaintiffs.

        33.     While the foreclosure action was pending, the Plaintiffs remitted payments to

the Defendant which, upon information and belief, the Defendant failed to credit to their

loan account.

        34.     To make matters worse, the Defendant, upon further information and belief,

failed to return the payments made by the Plaintiffs.

        35.     By virtue of the aforesaid, the Defendant has been unjustly enriched.




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                               PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs, ROBERT P. GABRIEL and PAMELA P. GABRIEL,
demand judgment from the Defendant, NATIONSTAR MORTGAGE, LLC, as follows:

           A.    For monetary damages;
           B.    For punitive damages;
           C.    For post-judgment interest;
           D.    For attorneys’ fees;
           E.    For costs;
           F.    For treble damages pursuant to the provisions of the Connecticut
                 Unfair Trade Practices Act;
           G.    For any such other and further relief, as well as further costs, expenses
                 and disbursements of this action, as this Court may deem just and
                 proper.

Dated:     Windsor, Connecticut
           February 3, 2020

                              Respectfully submitted,

                              By: __/s/ ct29447______________
                              Roderick D. Woods, Esq. (ct29447)
                              THE WOODS LAW FIRM, LLC
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                              Attorney for the Plaintiffs, Robert P. Gabriel and Pamela
                              P. Gabriel




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